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             IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO
                       EASTERN DIVISION


Nathan Roberts and Freedom Truck
Dispatch LLC, on behalf of themselves
and all others similarly situated,

                       Plaintiffs,
                                              Case No. 1:23-cv-01597
v.

Progressive Preferred Insurance
Company, et al.

                       Defendants.


                                 PROPOSED ORDER
     Attorney Gene P. Hamilton’s motion for admission pro hac vice is granted.



     SIGNED on __________________________, 2023




                                     ________________________________
                                     UNITED STATES DISTRICT JUDGE
